       Case: 4:15-cv-00076-DMB Doc #: 124 Filed: 06/18/18 1 of 2 PageID #: 875



                          UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF MISSISSIPPI
                              GREENVILLE DIVISION

DANNY DYKES, INDIVIDUALLY AND
ON BEHALF OF THE ESTATE AND
WRONGFUL DEATH BENEFICIARIES
OF JAMES A. DYKES, DECEASED                                                        PLAINTIFFS

V.                                            CIVIL ACTION NO. 4:15-cv-00076-DMB-JMV

CLEVELAND NURSING & REHABILITATION
CENTER and JOHN AND JANE DOES I-X                                                DEFENDANTS



             STIPULATION OF PARTIAL DISMISSAL WITH PREJUDICE


       Pursuant to Rule 41(a) of the Federal Rules of Civil Procedure, and with Defendant's

consent, Plaintiffs dismiss the following claims with prejudice:

           1. Any claims or alleged damages related to hospitalizations before July 22, 2013;

           2. Any claims or alleged damages, including medical bills, related to James Dykes'
              heel ulcers or amputations;

           3. Any claims or alleged damages, including medical bills, related to any fall James
              Dykes experienced during his residency at Cleveland Nursing & Rehabilitation
              Center, LLC;

           4. Any claims for economic damages related to medical costs or treatment provided
              and/or hospitalizations other than hospitalizations occurring on or between the
              following dates of service: May 18-24, 2014; May 31-June 10, 2014; June 14-20,
              2014, July 1, 2014; July 6-31, 2014; August 1, 2014; August 5-6, 2014; August 20,
              2014; and September 1-3, 2014. Although Plaintiffs may not recover damages for
              medical costs incurred during hospitalizations not identified in this paragraph, this
              stipulation does not preclude Plaintiffs from seeking to hold Defendant responsible
              for pressure sores identified during other hospitalizations.

       Respectfully submitted, this 18th day of June, 2018:
      Case: 4:15-cv-00076-DMB Doc #: 124 Filed: 06/18/18 2 of 2 PageID #: 876



                                            DANNY DYKES, INDIVIDUALLY AND
                                            ON BEHALF OF THE ESTATE AND
                                            WRONGFUL DEATH BENEFICIARIES
                                            OF JAMES A. DYKES, DECEASED


                                      By:   /s/ John F. Hawkins
                                            John F. Hawkins
                                            HAWKINS GIBSON, PLLC
                                            628 North State Street
                                            Jackson, Mississippi 39201

Of Counsel:

R. Paul Williams, III
WILLIAMS NEWMAN WILLIAMS, PLLC
129B South President Street
Jackson, Mississippi 39201

Jason M. Kirschberg
GADOW TYLER, PLLC
511 E. Pearl Street
Jackson, Mississippi 39201

David Norquist
DAVID NORQUIST LAW OFFICE, PLLC
301C West Sunflower Road
Cleveland, Mississippi 38732

Counsel for Plaintiffs

                                            AGREED:

                                            /s/ Sterling Kidd
                                            Bradley W. Smith
                                            D. Sterling Kidd
                                            BAKER, DONELSON, BEARMAN, CALDWELL
                                            & BERKOWITZ, PC
                                            Post Office Box 14167
                                            Jackson, Mississippi 39236-4167

                                            La'Verne Edney, Esquire
                                            BUTLER SNOW LLP
                                            Post Office Box 6010
                                            Ridgeland, Mississippi 39158-6010

                                            Counsel for Defendant
